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lN THE UNITED sTATEs DISTRICT CoURT '" m m y ”; §§
WESTERN DISTR[CT OF MICHIGAN, SOUTHERN DIVISION " ..;¢ i

BRET THIELEN, individually and on

behalf ofa class of similarly situated individuals, 'L ,, H;Uj~»i‘l
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Jury TrialDemande_gi w _
Gi)rdon J. Qii!$t
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BUONGIORNO USA, INC., a Florida
Corporation, d/b/a BLINKO

Defendant.

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CLASS ACTlON COMPLAINT

Plaintiff Bret Thielen brings this class action complaint against defendant Buongiorno
USA, Inc. d/b/a “Blinko” (“Buongiorno”) to stop defendant’s practice of making unsolicited text
message calls to cellular telephones, and to obtain redress for all persons injured by its conduct.
For his class action complaint, Plaintiff alleges as follows upon personal knowledge as to
himself and his own acts and experiences, and, as to all other matters, upon information and
belief, including investigation conducted by his attorneys.

NATURE OF THE CASE

l. In a recent effort to promote the sale of ringtones and other text message services,
Buongiorno, a provider of such cellular phone entertainment services, engaged in an especially
pernicious form of marketing: the transmission of unauthorized advertisements, in the form of
“text message” calls to the cell phones of consumers across the nation.

2. By effectuating these text message calls (hereinafter, “wireless spam” or “SMS
Spam”), Buongiorno has caused Such consumers actual harm, not only because the consumers

were subjected to the aggravation that necessarily accompanies unsolicited wireless spam, but

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also because in virtually all instances consumers actually have to pay their cell phone service
providers for the receipt of such wireless spain, notwithstanding that it is sent in violation of
specific legislation on the subject.

3. In order to redress these injuries, Thielen, on behalf of himself and a nationwide
class, brings suit under thc Teleplioiie Consumer Protection Act, 47 U.S.C. § 227, et sec]., (the
“TCPA”) which prohibits unsolicited voice and text calls to cell phones.

4. On behalf ofthe class, Thielen seeks an injunction requiring Buongiorno to cease
all wireless spain activities and an award of actual and statutory damach to the class members,

together with costs and reasonable attorncy’s fees.

PARTIES
5. PlaintiffBret Thielen is a citizen of Michigan, residing in Kent County,
Micliigan.
6. Defendant Buongiorno is a self-proclaimed “international company active in the

field ofmultimedia contents for telephony and digital channels. Buongiorno is one ofthe first
companies to reach a worldwide audience in the mobile Value Added Services area, and is a
clear market leader in the United States, Europe, and Latin America.” It is a Florida corporation
with its principle place of business in l\/Iiami Beach, Florida. lt does business throughout the
United States, including Kent County, l\/lichigan.
JURISD[CTION

7. Tlie Court has originaljurisdiction over this action pursuant to 28 U.S.C.

§ l332(d), because (a) at least one member ofthe putative class is a citizen ofa state different

from Buongiorno, (b) the amount in controversy exceeds $5,000,0()0, exclusive of interests and

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costs, and (c) none ofthe exceptions under that subsection applies to the instant actioii.
VENUE
8. Vcnue is proper in this district under 28 U.S.C. §§ l391(a)(l) and l39l(a)(2).
CONDUCT COMPLAINED OF

9. lii recent years, marketers, who often have felt stymied by federal laws limiting
solicitations over telephones, facsimile machines, and e-mails, have increasingly looked to
alternative technologies through which to send bulk solicitations cheaply.

lO. One ofthe newest types of such bulk marketing is to advertise through Sliort
l\/Iessage Services. The term “Short l\/Iessage Service” or “SMS” is a messaging system that
allows cellular telephone subscribers to use their cellular telephones to send and receive short
text messages, usually limited to 160 or so characters, on their cellular telephones

ll. An “SMS message” is a text message call directed to a wireless device through
the use ofthe telephone number assigned to the device. Wlien an SMS message call is
successfully made, the recipient’s cell phone rings, alerting him or her that a call is being
received.

12. Unlike more conventional advertisements wireless spam actually costs its
recipients money, because virtually all cell phone users must pay for each text message call they
receive, whether or not the message is authorized

l3. ln or about December, 2005, Buongiorno caused a mass transmission of wireless
spain to the cell phones of what it hoped were potential customers

14. The sender field ofthe transmission contained only the five-digit number: 42222.

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Thc subject line ofthe message was: “HERE IS ANO....” The body ofthe message read as
follows:

Here is another chance to receive your text alerts from Blinko.com.

Simply reply with txt l\/IY PRANK.

15. On or about Deceniber lO, 2005, plaintiff Bret Thielen’s cell phone rang,
indicating that he had received a text call. Under his contract with his cell phone service
provider, this cost him ten ccnts. Over the next several days, l\/lr. Thielen received approximately
five additional text messages from the same sender that contained an identical message as
described above. Mr. Thielen was charged by his cell phone service provider an additional $(). lO
per message for the receipt ofthese text message calls.

16. Tlie sender ofthe text call identified itself as only “42222”.

17. When he accessed the full message, he saw that it was the wireless spam
advertisement from Buongiorno, quoted iii full abovc.

CLASS ALLEGATIONS

18. Thielen brings this action, pursuant to FRCP 23(b)(2) and FRCP 23(b)(3), on
behalf ofhimself and a class (the “Class”) consisting of all persons residing in the United States
ofAmerica who, within four years ofthe filing ofthis lawsuit, (l) received a text message from
Buongiorno and (2) subscribed to a cellular telephone plan wherein they were required to pay to
receive text messages based upon the number oftext messages they received.

19. Upon information and belief, there are thousands of members ofthe Class who

are geographically dispersed, such thatjoinder of all members is impracticable

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20. Common questions of law and fact exist as to all members ofthe Class and

predominate over questions affecting individual members Common questions for the Class

include:
(a) ls Buongiorno’s conduct governed by the TCPA?
(b) Does the wireless spain Buongiorno distributed violate the TCPA‘?
(c) Are thc class members entitled to treble damages based on the willfulness
ofBuongiorno’s conduct?
21. Thielen will fairly and adequately protect the interests ofthe Class, his claims are

typical ofthe claims of the members ofthe respective classes and he has retained counsel
competent and experienced in class action litigation.

22. A class action is superior to other available methods for fairly and efficiently
adjudicating this controversy becausc, among other things, (a) joinder of all members ofthe
respective classes is impracticable, and (b) many members ofthe classes cannot vindicate their
rights by individual suits because their damages are small relative to the burden and expense of

litigating individual actions

COUNT l
23. Thielen incorporates by reference the foregoing allegations
24. Buongiorno made unsolicited commercial text calls to the members ofthe Class

using an automatic telephone dialing system and/or using an artificial and prerecorded message
to the wireless telephone numbers of the Class

25. These calls were made without the prior express consent ofthe called parties

26. Buongiorno has, thcrefore, violated the TCPA, 47 U.S.C. 227(b)(l)(A)(iii).

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27. As a result of Buongiorno’s illegal conduct, the members ofthe class suffered

actual damages and, under section 227(b)(3)(B), are each entitled, inter alia, to a minimum of

3500.00 in damages for each such violation ofthe TCPA

28. Because Buongiorno’s misconduct was willful and knowing, the Court should,

pursuant to section 227(b)(3)(C), treble the amount of statutory damages recoverable by the

members of the Class.

WHEREFORE, PlaintiffBret Thielen, on behalf of himself and the Class, prays for the

following relief:

l.

2.

An order certifying the Class as defined above;

An award of actual and/or statutory damages;

An injunction requiring Buongiorno to cease all wireless spain activities
Reasonable attorney’s fees and costs; and

Such further and other relief the Court deems appropriate

J URY DEMAND

Plaintiff requests trial by jury of all claims that can be so tried.

Dated: January 6, 2006 D\~D C /23'/

Phillip C. Rogers (P34356)

Attorney for Plaintiff

40 Pearl Street, N.W., Suite 336
Grand Rapids, l\/lichigan 49503-3026
(616) 776-1176

ConsumerLawver@aol.com

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John Blim

lay Edelson

l\/lyles l\/chuire (Of Counsel)

BLll\/l & EDELSON, LLC

Attorneys for Plaintiff

53 West Jackson Boulevard, Suite 1642
Chicago, lllinois 60604

Telephone: (312) 913-94()0

Telefax: (312) 913-9401

John G. Jacobs

Bryan G. Kolton

THE JACOBS LAW FlRl\/l, CHTD.
Attorneys for Plaintiff

122 South l\/lichigan Avenue, Suite 1850
Chicago, lllinois 60603

Telephone: (312) 427-4000

Telefax: (312) 427-1850

